

Schwartz v Schwartz (2025 NY Slip Op 02697)





Schwartz v Schwartz


2025 NY Slip Op 02697


Decided on May 2, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, SMITH, DELCONTE, AND HANNAH, JJ.


333 CA 24-00996

[*1]MELINDA SCHWARTZ, PLAINTIFF-RESPONDENT,
vDANIEL A. SCHWARTZ, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






BENNETT SCHECHTER ARCURI &amp; WILL LLP, BUFFALO (PAUL A. VANCE OF COUNSEL), FOR DEFENDANT-APPELLANT. 
RUPP PFALZGRAF LLC, BUFFALO (MICHAEL J. COLLETTA OF COUNSEL), FOR PLAINTIFF-RESPONDENT.
PETER P. VASILION, WILLIAMSVILLE, ATTORNEY FOR THE CHILD.
MELISSA A. CAVAGNARO, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Supreme Court, Erie County (Catherine R. Nugent Panepinto, J.), entered October 17, 2023. The order, insofar as appealed from, directed the parties to destroy or delete any audio, digital, electronic or other similar media recording of any discussions between a minor child in the matter and her attorney and precluded the use of such information. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Schwartz v Schwartz ([appeal No. 2] — AD3d — [May 2, 2025] [4th Dept 2025]).
Entered: May 2, 2025
Ann Dillon Flynn
Clerk of the Court








